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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                  Date: February 24, 2022

   Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                  Karlen Dubon                                    Not Present
                 Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
              None Present                                   None Present


          PROCEEDINGS (IN CHAMBERS): ORDER GRANTING IN PART
                                     APPLICATION TO FILE BRIEFING
                                     UNDER SEAL [130]

           Before the Court is Plaintiff Dr. John Eastman’s (“Plaintiff”) Application to file
   his briefing on privilege assertions under seal (Dkt. 130). Plaintiff argues that responding
   to many privilege assertions necessarily involves referencing third parties by name, and
   that publishing those names publicly would violate those third parties’ privacy.
   Application ¶ 3. Plaintiff requests that he be allowed to file his briefing under seal and
   file a redacted version of the briefing publicly. Id. ¶¶ 4-5.

          The Court has previously noted its concern for the privacy of third parties not
   involved or represented in this litigation. However, the Court must prioritize maximizing
   transparency to the public while remaining conscientious about privacy. Accordingly,
   Plaintiff’s Application is GRANTED IN PART as follows: Plaintiff may file his
   unredacted briefing under seal such that it is visible to the Court and the House Select
   Committee, and Plaintiff may redact personally identifiable information about third
   parties in the publicly-filed version of his briefing. The same procedure shall be followed
   by the House Select Committee if needed for their briefing.
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL

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          The inf01mation redacted must be limited to the minimum amount necessa1y to
   protect third parties' privacy by preventing identification of individuals. This information
   includes names, phone numbers, email addresses (but not email domains unless
   specifically personally identifiable), and specific job positions.

          The Court provides the following hypothetical examples to demonstrate the
   limited extent of redaction it is allowing:

            Original: John Doe was an attorney working with Tom Smith's team on Tiump's legal cases. His
   email, john_doe@donaldtrnmp.com, reflects his affiliation with the Tmmp campaign. Ken Doe was an
   attorney who was working, at President T1ump's behest, on anticipated election litigation as early as
   September 2020. He was also involved with post-election litigation efforts, p1imatily in Georgia,
   including Trump v. Doe, No. 2020CV100000 (Fulton Cnty, Ga. Super. Ct. Dec. 1, 2020), and Trump v.
   Doe, No. 1:20-cv-01000 (N.D. Ga. Dec. 1, 2020). Jane Doe was an attorney who se1ved as General
   Counsel for the Central County Republican Patty and Associate General Counsel for the Franklin
   Republican Patty.

          Redacted:          was an attorney working with--'s team on Tmmp's e al cases.
  His email,            on dtmmp.com, reflects his affilia�e Tmmp campaign. li                          was
  an attorney w o was working, at President Tiump's behest, on anticipated election litigation as eat· y as
  September 2020. He was also involved with post-election litigation effo1ts, p1imatily in Georgia,
  including Trump v. Doe, No. 2020CV100000 (Fulton Cn , Ga. Super. Ct. Dec. 1, 2020), and Trump v.
  Doe, No. 1:20-cv-01000 (N.D. Ga. Dec. 1, 2020).            was an attorne who se1ved as-
  - for the Central County Republican Patty an                                      for the F1�
  �can Patty.

          Because Plaintiffs previously-filed public brief (Dkt. 132) does not conform to
   the limited redaction the Court is allowing, Plaintiff is ORDERED to file an amended
   public version of his briefing by 11 :00 am PST on Friday, Febmaiy 25, 2022.

          The Clerk shall serve this minute order on the patties.

    MINUTES FORM 11                                                             Initials of Deputy Clerk: kdu

    CIVIL-GEN
